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 EXHIBIT 71
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RE: Communications: Response protocol notification for
East Precinct (red zone) and protests
From:          "Best, Carmen" <carmen.best@seattle.gov>
To:            "Mahaffey, Thomas" <thomas.mahaffey@seattle.gov>
Date:          Mon, 15 Jun 2020 22:58:51 -0700

Thank you all of your hard work. Please continue to keep me posted .

Carmen


From: Mahaffey, Thomas <Thomas.Mahaffey@seattle.gov>
Sent: Sunday, June 14, 2020 8:12 PM
To: Best, Carmen <Carmen .Best@seattle.gov>
Subject: FW: Communications: Response protocol notification for East Precinct (red zone) and
protests
Importance: High

Chief,

If other City agencies are successful at getting the barricades that are set up removed, then I can
consider adjusting our current response protocols. As of now, there are too many unknown
conditions that adversely impact officer safety to send our officers into the blockaded area unless it
is a critical life safety emergency. We have numerous incidents over the past several days of calls
placed that we are not able to verify that seem to be an effort to instigate a police response into the
protest zone.

TM


From: SPD Events <SPDEvents@seattle .gov>
Sent: Sunday, June 14, 2020 7:54 PM
To: SPD Dispatch <SPDDispatch@seattle.gov>; SPD_Comm_Supervisors
<SPD Comm Supervisors@seattle.gov>
Cc: Edwards, Michael <Michael.Edwards@seattle.gov>; Swank, Ke ith <Keith .Swank@seattle.gov>;
Grenon, Bryan <Bryan.Grenon@seattle .gov>; Grossman, Kevin <Kevin.Grossman@seattle .gov>;
Williams, Joel <Joel.Williams@seattle .gov>; Kelley, Christopher <Christopher.Kelley@seattle.gov>;
Mahaffey, Thomas <Thomas.Mahaffey@seattle .gov>; Danielson, James
<James.Danielson@seattle.gov>; Davis, Tyrone <Tyrone.Davis@seattle.gov>; Litsjo, Stacy
<Stacy.Litsjo@seattle .gov>
Subject: Communications: Response protocol notification for East Precinct (red zone) and protests
Importance: High

FYI
The below was added to today's IAP as a contingency.
For your awareness.




                                                                                                          SEA_00021400
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Demonstration Events/Street Marches
With the current demonstration response protocol, the Department will continue to monitor
events on a daily basis however we will not deploy police resources to demonstration or
protest-related events except to address a life-safety emergency.

Patrol Task Force will be prepared to deploy to any event citywide as directed by an on-duty
Patrol lieutenant or above to address a life-safety emergency that exceeds the capacity of a
regular Patrol response.

Red Zone Response (East Precinct)
For any calls or incidents within the "Red Zone" in the East Precinct:

      • For all calls originating from within the red zone, Communications Section personnel should
        attempt to coordinate officer contact outside the red zone boundary.

      • Officers should not respond to calls for service within the red zone, unless the response is to
        a mass casualty event (e.g. active shooter incident, structural fire likely to endanger human
        lives etc.). If responding to a mass casualty incident within the red zone, all responding
        officers should muster with a supervisor outside that zone to determine the police response,
        develop a plan, and deploy with needed resources . Coordination with SFD or any other city
        resources should take place outside of the Red Zone perimeter.

      • Edward Sector: Requires a four-officer minimum response to all Edward Sector calls
        for service outside the red zone.

**Officers should continue to document calls for service that originate from within the red zone, even
under circumstances where complainanUvictim contact isn't possible.

      • Communications will immediately notify SPOC of the following :
            o Any Mass Casualty event i.e: Active Shooter, structural fire likely to endanger;
              human lives.
            o Any large protests within the city
      • SPOC will remain activated 24/7 until further notice.
      • SPOC will notify the designated On Call Duty Captain of the above incidents.

      • Schedule is below:

 Sunday, June 14                                      Swank
 Monday, June 15                                      Swank
 Tuesday, June 16                                     Wilske (as the regular on duty captain)
 Wednesday, June 17                                   Edwards
 Thursday, June 18                                    Edwards
 Friday, June 19                                      Edwards
 Saturday, June 20                                    Edwards
 Sunday, June 21                                      Edwards




                                                                                                          SEA_00021401
